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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3142
                                        )
             v.                         )
                                        )
WILLIE LEE STURGIS and                  )      MEMORANDUM AND ORDER
MARY ELIZABETH MCDANIEL,                )
                                        )
                   Defendants.          )
                                        )


       Defendant Mary Elizabeth McDaniel has moved to continue the trial currently
set for March 16, 2009. (Filing No. 57). In support of her motion, this defendant
states she is currently being tried on robbery and burglary charges in the Lancaster
County District Court, with the trial scheduled to end on March 13, 2009. She
requests additional time to assist her counsel in preparing a defense to the pending
federal charges. The government does not oppose the requested continuance. The
Court, being fully advised in the premises, finds that said motion should be granted.

      IT IS ORDERED:

      1)     Defendant Mary Elizabeth McDaniel’s motion to continue, (filing no.
             57), is granted.

      2)     Trial of this matter as to both defendants is continued to 9:00 a.m.,
             April 27, 2009 for a duration of five trial days before the Honorable
             Richard G. Kopf in Courtroom 1, United States Courthouse and Federal
             Building, 100 Centennial Mall North, Lincoln, Nebraska. Jury selection
             will be held at commencement of trial.
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    3)    Based upon the showing set forth in defendant Mary Elizabeth
          McDaniel’s motion and the representations of her counsel, the Court
          further finds that the ends of justice will be served by granting such a
          motion, and outweigh the interests of the public and the defendant in a
          speedy trial, and the additional time arising as a result of the granting of
          the motion, the time between today’s date and April 27, 2009 shall be
          deemed excludable time in any computation of time under the
          requirements of the Speedy Trial Act, for the reason that the parties
          require additional time to adequately prepare the case, taking into
          consideration due diligence of counsel, the novelty and complexity of
          the case, and the fact that the failure to grant additional time might result
          in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

    DATED this 11th day of March, 2009.

                                     BY THE COURT:

                                     s/Richard G. Kopf
                                     United States District Judge




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